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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

             Defendants.
                                                /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 11-20066


JEFF GARVIN SMITH et al.,

             Defendants.
                                                /

       ORDER REQUIRING HEARING STATEMENTS IN FUTURE MOTIONS

      On May 16, 2013, the court conducted a telephonic status conference in the

above-captioned cases with Government counsel and Liaison counsel. During the

conference, the court discussed the unique nature of this case, with numerous

defendants–many of them incarcerated across the state or out of state. The court

suggested a protocol, to which Liaison counsel agreed in principle, for reducing the

costs and administrative burdens of transporting defendants, often against their wishes,

to court for motion hearings at which the defendant does not need or wish to be present.

Accordingly, henceforth,
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          IT IS ORDERED that every motion filed by a defendant shall begin with (1) a

statement indicating whether a hearing is thought to be mandatory or, if not mandatory,

requested and (2) a statement indicating either that defendant waives personal

attendance or that defendant wishes to be present should the court conduct a hearing.



                                                                 s/Robert H. Cleland
                                                                 ROBERT H. CLELAND
                                                                 UNITED STATES DISTRICT JUDGE
Dated: May 31, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, May 31, 2013, by electronic and/or ordinary mail.

                                                                 s/Lisa Wagner
                                                                 Case Manager and Deputy Clerk
                                                                 (313) 234-5522




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